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 5   Attorney for Plaintiffs A.F. and L.F.

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 7                                    UNITED STATES DISTRICT COURT

 8                              NORTHERN DISTRICT OF CALIFORNIA

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10   A.F. and L.F.,                                   Case No. 4:24-cv-02610-JST

11                      Plaintiffs,                   NOTICE OF VOLUNTARY
                                                      DISMISSAL WITHOUT PREJUDICE
12   v.

13   THE COOPER COMPANIES, INC.;
     COOPERSURGICAL, INC.; and DOES 1-
14   10, inclusive,

15                      Defendants.

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                                                                             Notice of Voluntary Dismissal
                                                                                        Without Prejudice
          3152151.1                                                           Case No. 4:24-cv-02610-JST
      Case 4:24-cv-02610-JST          Document 31        Filed 12/18/24      Page 2 of 2



 1           Plaintiffs A.F. and L.F. hereby give notice of the voluntary dismissal of their action as to

 2   all defendants, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), no defendants having

 3   served an answer or a motion for summary judgement.

 4   Dated: December 18, 2024                Respectfully submitted,
 5                                            /s/ Sarah R. London
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                                                                                     Notice of Voluntary Dismissal
                                                     -1-                                        Without Prejudice
       3152151.1                                                                      Case No. 4:24-cv-02610-JST
